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CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O'STEEN, ESQ.
Nevada Bar No. 10949

CLARK HILL PLC

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-84()0
CCarlyon@ClarkHill.corn
TOSteen@ClarkHill.com

[Proposed] Counselfor Debtors in Possessz'on

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

In re
DOUBLE JUMP, INC.
Debtor.

Lead Case No.: BK-19-50102-btb
Chapter 11

Proposed Joint Administration With:
19-50103-btb Dora Dog Properties, LLC

 

 

 

 

X Affects ALL Debtors

Affects Double Jump, lnc.

Affects Dora Dog Properties, LLC

Affects Dog Blue Properties, LLC
Affects Brandy Boy Properties, LLC

Affects 475 Channel Road, LLC

Affects Park Road, LLC

Affects 140 Mason Circle, LLC

Affects DC Solar Solutions, lnc.
Affects DC Solar Distribution, lnc.

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19-5€)`104-brb Dog Blue Properries, LLC

 

19-50105-btb Brandy Boy Properties, LLC

 

19-50106-btb 475 Channel Road, LLC

 

19-5()108-btb Park Road, LLC

 

19-50109-btb 140 Mason Circle, LLC

 

19-50130-btb DC Solar Solutions, lnc.

 

 

 

 

 

 

19-50131-btb DC Solar Distribution, lnc.

 

DEBToRs’ EMERGENCY MoTIoN FoR
ENTRY oF INTERIM AND FINAL
oRDERS (1) AUTHoRIZING THE
RETENTION oF GLASSRATNER
ADvlsoRY & CAPITAL GROUP LLC To
PRovIDE CHIEF RESTRUCTURING
oFFICER AND CERTAIN ADDITIONAL
PERSONNEL, (11) DESIGNATING SETH R.
FREEMAN As DEBToRs’ CHIEF
RESTRUCTURING oFFICER EFFECTlvE
As oF THE PETITION DATE, (111)
SETTING A FlNAL HEARING, AND (Iv)
GRANTING RELATED RELIEF

Hearing Date: OST Requested
Hearing Time: OST Requested

Double Jump, lnc., along With certain of its affiliates, the above captioned debtors and

debtors in possession (collectively, the “Debtors”), by and through their proposed counsel, the law

firm of Clark Hi11 PLLC, hereby submit this Emergency Motion (the “Motion”) for entry of Interim

 

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and Final Orders (i) Approving the Retention and Employment of GlassRatner Advisory & Capital
Group LLC (“GlassRatner”) to Provide the Debtors with a Chief Restructuring Officer (“QM”)
and Certain Additional Personnel the “GlassRatner Personnel”), (ii) Designating Seth R. Freeman,
CIRA, CTP as CRO Effective as of the Petition Date, pursuant to that certain engagement letter
agreement by and between Debtors and GlassRatner, of which a true and correct copy is attached
hereto as Exhibit 1 (the “Engagement Agreement”), (iii) Setting a Final Hearing, and (iv) Granting
Related Relief.

This Motion is made and based upon the following memorandum of points and authorities,
sections 105and 363(b) of title 11 of the United States Code, 11 U.S.C. §§ 101 el seq. (the
“Bankruptcy Code”), Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), the Omnibus Declaration of Seth R. Freeman in Support of First Day
Motions [ECF No. 12] (the “First Day Declaration”) on file herein, and the Declaration of Seth R.
Freeman, CIRA, CTP in Support of Debtors’ Application (the “Freeman Declaration”) filed
concurrently herewith

Respectfully submitted this 4th day of February, 2019.

CLARK HILL PLC

/s/ Tracy M. O’Steen, Esq.

CANDACE C. CARLYON, ESQ.

Nevada Bar No. 2666

TRACY M. O'STEEN, ESQ.

Nevada Bar No. 10949

3800 Howard Hughes Parkway, Suite 500

Las Vegas, NV 89169

[Proposed] Counselfor Debtors and Debtors
in Possessz`on

MEMORANDUM oF POINTS AND AUTHORITIES
I.
RELIEF REQUESTED
1. By this Application, the Debtors seek entry of an order pursuant to sections 105
and 363(b) of the Bankruptcy Code (a) authorizing (i) the retention of GlassRatner to provide the
Debtors with a CRO as well as additional GlassRatner Personnel to assist the CRO in the

performance of his duties, and (ii) designating Seth R. Freeman as the Debtors’ CRO (and together

 

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with the GlassRatner Personnel, the “Engagement Personnel”), effective as of the Petition Date,
and (b) granting related relief.
II.
JURISDICTION AND VENUE
2. This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

3. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

4. The statutory predicates for the relief requested herein are Sections 105 and 363(b)

of the Bankruptcy Code, and Bankruptcy Rules 2014(a) and 2016.

 

5. Debtors consent to entry of final relief by the bankruptcy court.
III.
RELEVANT BACKGROUND
6. On January 30, 2019 (the “Petition Date”), Holdings and the Real Estate Debtors

(as defined below) each commenced a case by filing a petition for relief under chapter 11 of the
Bankruptcy Code, and on February 3, 2019, DC Solar Solutions, lnc. and DC Solar Distributions,
lnc. each commenced a case by filing a petition for relief under chapter 11 of the Bankruptcy Code
(collectively, the “Chapter 11 Cases”). The Debtors have requested that the Chapter 11 Cases be
jointly administered

7. The Debtors continue to operate their businesses and manage their properties as
debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

8. To date, no creditors’ committee has been appointed in these Chapter 11 Cases by
the Office of the United States Trustee for the District of Nevada (the “United States Trustee”). No
trustee or examiner has been appointed in the Debtors’ Chapter 11 Cases.

9. DC Solar Solutions, lnc., DC Solar Distribution, Inc., and DC Solar Freedom, lnc.l

(together, the “DC Solar” companies or the “Company”) has become the largest manufacturer of

 

l The Debtors in the above-captioned cases anticipate that Freedom Will file its own chapter 11
case promptly, and will seek joint administration of its chapter 11 case together With the above-
captioned cases.

 

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mobile solar generators over the last decade. The Company designs, manufactures, and distributes
mobile solar generators, mobile solar electric vehicle chargers, mobile solar light towers, and
mobile solar power stations to private enterprises, municipalities, and universities The Company
Was founded in 2009, and today has deployed its units across the United States.

10. In addition to DC Solar Solutions, lnc. and DC Solar Distributions, Inc., the
Debtors are comprised of Double Jump, lnc., which holds 100% of the stock in DC Solar Solutions,
lnc. and DC Solar Distribution, lnc., as well as six limited-liability companies Which primarily hold
real estate assets (both commercial and residential) for rent or lease, being Dog Blue Properties,
LLC; Dora Dog Properties LLC; Brandy Boy Properties, LLC; 475 Channel Road, LLC; 140
Mason Circle LLC; and Park Road LLC (the “Real Estate Debtors”). The assets of the Real Estate
Debtors Will be pledged as collateral in connection with the proposed DIP Financing described in
the First Day Declaration.

11. As set forth in the First Day Declaration, on December 18, 2018, the federal
government seized funds from and froze all bank accounts associated with the DC Solar companies,
allegedly in connection with a purported “investment fraud” perpetrated by the Company. On the
same day, agents from the FBI and the IRS executed sweeping search and/or seizure warrants of the
DC Solar business headquarters located in Benicia, California. Agents seized hundreds of items
essential for the Company to conduct and operate its ongoing businesses, including, but not limited
to, computer servers, computers, and hard copy files containing corporate books and records,
investment agreements, lease agreements, vendor agreements, communications with investors and
customers, and invoices for insurance and utility providers Left without any liquid assets to fund
the Company’s business or basic communications and record-keeping inf`rastructure, the Company
was forced to shut down and lay off its entire Workforce the Week before Christmas.
Approximately 100 employees were laid off, and the Company was unable to pay wages owed to
those employees. Following the seizure, the Company has continued to receive strong support from
its employees, its customers, its partners, and its investors. Buoyed by the support of its key
constituencies, the Company is securing debtor-in-possession financing and commenced these

Chapter 11 Cases in order to reopen its business operations so that it may continue to serve its

 

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customers and other stakeholders, compensate its employees, and continue to deliver and develop
its best-in-class products and services for the benefit of all constituencies.

12. In order to alleviate any concerns with regard to prior management, the Debtors
have engaged an experienced independent restructuring advisor, Seth R. Freeman of GlassRatner,
to act as the Corporate Restructuring Officer and lead the Debtors through the reorganization
process Approval of GlassRatner’s retention and employment of Seth R. Freeman as CRO is the
subject of the current Motion. DC Solar companies and Double Jump, lnc. have also engaged new
independent directors to aid with the reorganization process

13. Additional factual background information regarding the Debtors, including their
business operations, their corporate and capital structure, and the events leading to these Chapter 11
Cases, is set forth in detail in the First Day Declaration.

IV.
RETENTION AND OUALIFICATIONS oF GLAssRATNER & SETH R. FREEMAN

14. GlassRatner was retained by the Debtors on January 24, 2019, as the Debtors’ chief
restructuring officer, in order to assist the Debtors with evaluating their restructuring options and
otherwise help maximize the value of the Debtors’ business and estates for the benefit of their
constituents

15. In consideration of the size and complexity of their businesses as well as the
exigencies of the circumstances the Debtors require the assistance of a qualified and experienced
CRO with the resources, capabilities, and experience of GlassRatner, Mr. Freeman and the
Engagement Personnel. GlassRatner performs critical services that complement the services
provided by the Debtors’ other professionals

16. The Debtors believe that GlassRatner, Mr. Freeman and the Engagement Personnel
are well qualified to provide restructuring management services that Will assist and enhance the
Debtors’ efforts to maximize the value of their estates GlassRatner has a wealth of experience in
providing restructuring advisory services, and enjoys an excellent reputation in the restructuring
community for services it has rendered on behalf of debtors and creditors throughout the United

States.

 

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17. GlassRatner’s professionals have assisted, advised, and provided strategic advice to
debtors creditors bondholders investors and other entities in numerous chapter 11 cases of similar
size and complexity to the Debtors’ chapter 11 cases

18. Seth R. Freeman, CIRA, CTP, is the Senior Managing Director of GlassRatner’s
San Francisco office. Mr. Freeman is a bankruptcy, insolvency and restructuring consultant, crisis
and turnaround manager and asset manager with over 30 years of diverse consulting experience
including financial advisory, operational and financial restructuring, controlled wind-downs
transaction management, arranging new financing, fiduciary, litigation support; and cross-border
due diligence, insolvency and debt resolution, market-entry strategies compliance, fraud
investigation and recovery and complex dispute negotiation His practice also includes serving as
independent advisor to significant investors and directors of companies undergoing change. Mr.
Freeman is a Certified Insolvency & Restructuring Advisor and a Certified Turnaround
Professional. He is a Director of the Bay Area Bankruptcy Forum and serves on the Turnaround
Management Association CTP Professional Education Committee. Mr. Freeman’s professional
firm resume is attached hereto as Exhibit 2.

19. The CRO shall be an officer of Company and shall have the duties similar to that of
a Chief Executive Officer including, but not limited to: (a) assisting in all aspects of the
Company’s business activities and operations including budgeting, cash management and financial
management; (b) negotiations regarding the relationship With the Company’s lenders: (c)
negotiations With vendors customers and other creditors: (d) hiring and terminating of employees
of the Company (to the extent applicable): (e) review of daily operating activity: (f) evaluating
liquidity options including restructuring, refinancing and reorganizing; (g) reviewing purchases and
expenses and (h) acting as the Company representative in court hearings as appropriate

V.
SCoPE oF EMPLoYMENT

20. Subject to Court approval, the Debtors propose to retain GlassRatner to make
available to the Debtors the Engagement Personnel, on the terms and conditions provided in the

Engagement Agreement, except as otherwise set forth herein or in any order granting this

 

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Application. The terms and conditions of the Engagement Agreement were negotiated between the
Debtors and GlassRatner at arm’s-length and reflect the parties’ mutual agreement as to the efforts
that will be required for this engagement Further, GlassRatner was retained by Double Jump, lnc.,
Dora Dog Properties LLC, Dog Blue Properties LLC, 475 Channel Road, LLC, Park Road, LLC,
140 Mason Circle, LLC, DC Solar Solutions, lnc., DC Solar Distribution, lnc., and DC Solar
Freedom, lnc. and the terms and conditions of the Engagement Agreement are equally applicable to
each.

21. Generally, the Engagement Personnel shall perform activities and services to
oversee the Debtors’ chapter 11 process and assist With maximizing the value of the Debtors’
estates The CRO shall report to the Debtors’ board of directors In addition to the ordinary course
duties of a CRO, the Engagement Personnel may also support the CRO and the Debtors on the
following: Assist the Debtors With routine accounting, financial analysis and US Trustee reporting;
assist in the preparation of marketing and pricing analysis and projections assist in obtaining,
arranging and negotiating Debtor in Possession financing; perform valuations; assist with matters
involving the Unsecured Creditors Committee; assist and advise on the development and
presentation of the Plan of Reorganization; review the available documentation relating to the
investigative issues and assist in the identification of additional information/documentation to be
obtained; prepare reports with supporting documentation, summarizing findings and setting out
opinions in a manner that is easily understood and representative of the events; and other services
requested by the Debtor. In addition, GlassRatner will take responsibility for preparation of the
Debtors’ Schedules and Statement of Financial Affairs.

22. In general, and particularly in light of recent events impacting the Debtors such
professional services are necessary to the Debtors’ efforts to maximize value and to the ongoing
operation and management of the Debtors’ businesses While they are in chapter 11.

23. The CRO will consult With the Board of Directors in connection With Engagement
Personnel and that such resources are necessary and not duplicative of the services being provided

by other employees or professionals

 

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VI.
DISINTERESTEDNESS

24. To the best of the Debtors’ knowledge, and except to the extent disclosed herein and
in the Freeman Declaration, GlassRatner: (a) has no connection With the Debtors (other than
through the retention described herein), their creditors or other parties in interest, the attorneys or
accountants of the foregoing, the Office of the United States Trustee for the District of Nevada (the
“U.S. Trustee”) or any person employed in the Office of the U.S. Trustee; (b) does not hold any
interest adverse to the Debtors’ estates; and (c) believes it is a “disinterested person” as defined by
section 101 (14) of the Bankruptcy Code.

25. Although the Debtors respectfully submit that GlassRatner’s employment is not
governed by section 327 of the Bankruptcy Code, GlassRatner ran a conflicts check and to the best
of its knowledge, does not have connections with creditors equity security holders or other parties
in interest related to these Chapter 11 Cases. GlassRatner does not represent an interest materially
adverse to the Debtors’ estates and does not have a conflict of interest regarding the Debtors or
these Chapter 11 Cases.

26. To the extent that any new facts or relationships bearing on the matters described
herein are discovered or arise, GlassRatner will promptly file supplemental disclosures

VII.
PRoFEssIoNAL CoMPENsATIoNq EXPENSE REIMBURSEMENT AND INDEMNIFICATION

27. GlassRatner’s acceptance of this engagement is conditioned upon its ability to be
retained and compensated in accordance with its customary terms and conditions and in accordance
with the Engagement Agreement (all such proposed terms the “Fee and Expense Structure”),
described more fully below and in the Engagement Agreement, to which the Debtors respectfully
refer the Court.

28. GlassRatner and Mr. Freeman were retained by the Debtors on January 24, 2019 to
serve as their CRO, at an hourly rate of $450 per hour for Mr. Freeman. The other Engagement
Personnel Will provide services at their standard hourly rates ranging from $195 to $625 an hour at

the direction of the CRO.

 

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29. ln addition to compensation for professional services rendered by the Engagement
team, GlassRatner Will seek reimbursement for reasonable and necessary out-of-pocket expenses
incurred in connection with these Chapter 11 Cases including reasonable fees and expenses of its
counsel for legal advice in connection with performing it duties in light of certain matters unique to
these Chapter ll Cases, and the enforcement of the Engagement Agreement, if necessary.

30. As more fully described in the Engagement Agreement, the Debtors seek authority
to indemnify GlassRatner and Mr. Freeman to the same extent the Debtors indemnify their officers
or directors Specifically, the Debtors have agreed to indemnify and hold harmless GlassRatner, its
shareholders officers employees agents representatives and subcontractors against any and all
losses claims damages liabilities penalties obligations and expenses including reasonable legal
fees and expenses based upon or arising out of GlassRatner’s performance of services in these
Chapter 11 Cases, except where any claims or losses are due to willful misconduct or gross
negligence, as determined by a final judgment from which all appeals have been exhausted

VIII.
FEES AND REPORTING

31. As set forth in the Freeman Declaration, prior to the bankruptcy filing, GlassRatner
received total funds of $375,000 from the Debtors For services rendered by GlasRatner prior to the
filing of the Debtors’ petitions for relief under Chapter 11 of the Bankruptcy Code (the “Chapter 11
C_as§§”), Glass Ratner charged the sum of $83,911.94, which sum was “drawn down” from the
retainer funds leaving a retainer on hand of $291,088.06. GlassRatner intends to apply the
remaining retainer to services rendered and expenses incurred subsequent to the Petition Date that
are approved by the Court.

32. The Engagement Agreement further contemplates that GlassRatner’s retention and
Seth R. Freeman’s appointment as CRO is subject to approval of the Bankruptcy Court with the
payment of monthly fees in accordance with local rules whether subject to an interim fee
application or the submission to the court of itemized monthly fee statements

33. Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules the Local

Rules the Fee Guidelines and the Orders the Debtors propose to compensate GlassRatner for

 

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services rendered at its customary hourly rates that are in effect from time to time, as set forth in the
Freeman Declaration, and to reimburse GlassRatner according to its customary reimbursement
policies The Debtors respectfully submit that GlassRatner’s rates and policies stated in the
Freeman Declaration are reasonable

34. The Debtors have also moved the Court for authorization to retain Clark Hill PLC
as bankruptcy counsel and expect to move for the employment of Skadden, Arps, Slate, Meagher &
Flom LLP as special litigation counsel as well. However, the Engagement Personnel Will
complement, and not duplicate, the services to be rendered by these and any other professionals
retained in these Chapter 11 Cases. GlassRatner will work cooperativer with all of the Debtors’
other professionals to ensure that value is maximized and that services are not duplicated.

IX
LEGAL AUTHoRITY

35. The Debtors seek to employ and retain GlassRatner and appoint Mr. Freeman as
CRO pursuant to sections 363 and 105(a) of the Bankruptcy Code, effective as of the Petition Date.

36. Debtors seek approval to employ GlassRatner under section 363(b)(1) of the
Bankruptcy Code which provides in relevant part, that “[t]he trustee, after notice and a hearing,
may use, sell, or lease, other than in the ordinary course of business property of the estate.”
Further, pursuant to section 105(a) of the Bankruptcy Code, the “court may issue any order,
process or judgment that is necessary or appropriate to carry out the provisions of this title.”

37. Under applicable case law in this and other jurisdictions a debtor’s proposed use of
its assets pursuant to section 363(b) of the Bankruptcy Code, other than in the ordinary course of
business is authorized When the debtor demonstrates a sound business purpose for the intended use.
See Instz'tutl`onal Creditors ofCont’l Al`r Ll'nes, lnc. v. Cont’l Al`r Lines, lnc. (In re Cont’l Al'r Lz`nes,
lnc.), 780 F.2d 1223, 1226 (5th Cir. 1986) (“[I]mplicit in § 363(b) is the further requirement of
justifying the proposed transaction That is for the debtor-in-possession or trustee to satisfy its
fiduciary duty to the debtor, creditors and equity holders there must be some articulated business
justification for using, selling, or leasing the property outside the ordinary course of business”)

(citing In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983)); see also 171 re ASARCO, L.L.C., 650

 

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F.3d 593, 601 (5th Cir. 2011) (“The business judgment standard in section 363 is flexible and
encourages discretion”); 171 re Montgomery Wara’ Holding Corp., 242 B.R. 147, 153 (D. Del. 1999)
(use of assets outside the ordinary course of business permitted if “sound business purpose justifies
such actions”); C0711771. of Asbestos-Related Litigants v. Johns- Manville Corp. (In re J0h71s-
Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986) (“Where the debtor articulates a
reasonable basis for its business decisions (as distinct from a decision made arbitrarily or
capriciously), courts will generally not entertain objections to the debtor’s conduct”).

38. Here, the retention of a CRO is necessary and appropriate under the circumstances
The Debtors’ back office is understaffed and lacks both the manpower and experience to handle the
extensive administrative matters required in a chapter 11 case, while at the same time operating the
business and maximizing value. An experienced professional in financial, operational, and
bankruptcy-specific matters is a necessary and integral part of maximizing value and ensuring
efficiency and compliance with the Bankruptcy Code, the Bankruptcy Rules and the various
bankruptcy reporting obligations imposed on debtors in possession

39. Bankruptcy courts have analyzed on numerous occasions the propriety of a debtor’s
employment of chief restructuring officers interim corporate officers and crisis managers under
Section 363 of the Bankruptcy Court and have determined that it is an appropriate exercise of the
debtor’s business judgment to employ such entities under Section 363.2

40. The decision to retain GlassRatner and employ Mr. Freeman as CRO is a sound

 

2 See, 171 re Westclijj‘Medical Laboratories, lnc., Case No. 10-16743 (Bankr. C.D. Cal. June 25,
2010); 171 re Fatburger Restaurants of Call`form`a, lnc., et al., Case No. 09-13965 (Bankr. C.D. Cal.
Feb. 16, 2011); 171 re Fairjz`eld Resz`dential LLC, Case No. 09-14378 (Bankr. D. Del Jan 13, 2010);
171 re Molor Coach Industries lnternational, 171c., Case No. 08-12136 (Bankr. D. Del Oct. 15,
2008) (approving retention of chief restructuring officer and crisis managers); 171 re Pappas
Telecasting, 171c., Case No. 08-10916 (Bankr. D. Del June 26, 2008); 171 re Linens Holding C0.,
Case No. 08-10832 (CSS) (Bankr. D. Del May 28, 2008); 171 re Hoop Holdings LLC, Case No. 08-
10544 (BLS) (Bankr. D. Del Apr. 22, 2008); 171 re Leiner Health Products, 171€., Case No. 08-
10446 (KJC) (Bankr. D. Del. Apr. 8, 2008); 171 re TOUSA, lnc., Case No. 08-10928 (Bankr. S.D.
Fla. Mar. 26, 2008); 171 re American Home Mortgage Holdings 1710., Case No. 07-11047 (Bankr.
D. Del. Sept. 5, 2007); 171 re Calpine Corp., Case No. 05-60200 (Bankr. S.D.N.Y. Jan 17, 2007);
171 re Tokheim Corp., Case No. 02-13437 (RJN) (Bankr. D. Del. Feb. 25, 2003); 171 re The
Holliston Mz'll, 171€., Case No. 07-10687 (MFW) (Bankr. D. Del. June 6, 2007); 171 re Sea
Containers Lta'., Case No. 06-11156 (KJC) (Bankr. D. Del. May 8, 2007); 171 re Adva-Lz'te, 1710.,
Case No. 07-10264 (KJC) (Bankr. D. Del. Mar. 16, 2007); 171 re Global Home Products, LLC,
Case No. 06-10340 (KG) (Bankr. D. Del. May 4, 2006).

 

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exercise of the Debtors’ business judgment First, Mr. Freeman has extensive experience as an
advisor for many troubled companies and has extensive experience in chapter 11 cases The Debtors
believe that Mr. Freeman, in his capacity as CRO, and the GlassRatner Personnel, will provide
services that will benefit the Debtors’ estates and creditors ln addition, GlassRatner has extensive
experience in providing restructuring consulting services in chapter 11 proceedings and enjoys an
excellent reputation as a restructuring firm throughout the United States

41. Second, the economic terms of GlassRatner’s retention are fair, reasonable, and
beneficial to the Debtors’ estates and were negotiated at arm’s-length. The Debtors believe that the
Fee and Expense Structure is comparable to those generally charged by restructuring advisors of
similar stature to GlassRatner for similar engagements Given the numerous issues that GlassRatner
may be required to address in the performance of its services hereunder, and the market prices for
GlassRatner’s services for engagements of this nature both in and out of court contexts the Debtors
believe that the Fee and Expense Structure is in line with market compensation for similar services
and is fair and reasonable.

42. For the reasons set forth herein, the Debtors respectfully submit that the retention of
GlassRatner and the employment of Mr. Freeman as the Debtors’ CRO is a sound exercise of the
Debtors’ business judgment and in the best interests of all parties in interest in these Chapter 11
Cases. The Debtors further believe that GlassRatner is Well qualified and equipped to represent the
Debtors in a cost-effective, efficient, and timely manner. Accordingly, the Debtors respectfully
request that the Court authorize the Debtors to retain GlassRatner to provide the Debtors with a
CRO, as well as any additional and necessary GlassRatner Personnel, and to designate Mr. Freeman
as the CRO to the Debtors effective as of the Petition Date, all pursuant to sections 105 and 363 of
the Bankruptcy Code.

43. Accordingly, the Debtors respectfully submit that the retention of GlassRatner, and
the designation of Mr. Freeman as the Debtors’ CRO on the terms set forth herein and in the
Engagement Agreement, is necessary, appropriate, and in the best interest of the Debtors’ estates

creditors and other parties in interest and should be approved.

 

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X.

CAUsE ExIsTs To WAlvE THE STAY IMPosTED UNDER RULE 6004(H) oF THE FEDERAL RULES
oF BANKRUPTCY PRoCEDURE

44. Pursuant to Rule 6004(h) of the Bankruptcy Rules “[a]n order authorizing the use,
sale, or lease of property other than cash collateral is stayed until the expiration of 14 days af`ter
entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The Debtors
respectfully submit that, to the extent that Bankruptcy Rule 6004(h) applies to the Debtors’
proposed retention of Mr. Feeman as CRO in these Chapter 11 Cases cause exists to waive the 14-
day stay imposed by Rule 6004(h). A 14-day stay of an order authorizing the Debtors’ retention of
Mr. Freeman as CRO will serve only to delay, unnecessarily, the administration of these cases to
the detriment of the Debtors’ creditors

XI.
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45. Notice of this Motion shall be given to (a) the Office of the United States Trustee;
(b) the holders of the 20 largest unsecured claims against the Debtors in each of the Chapter 11
Cases; (c) the United States Attorney for the Eastern District of California, Attn: McGregor W.
Scott; (d) the Debtors’ proposed post-petition debtor in possession lender; (e) the lnternal Revenue
Service; and (f) any such other party entitled to notice pursuant to Bankruptcy Rule 2002. The

Debtors submit that no other or further notice need be provided.

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XII.
CoNCLUsIoN
Based on the foregoing, Debtors respectfully request that the Court: (1) Grant the Motion
on an lnterim basis and enter an order, substantially in the form attached hereto as Exhibit 3; (2) Set
a final hearing on the Motion; and (3) For such further relief as the Court deems just and proper.

Respectfully submitted this 4th day of February, 2019.

CLARK HILL PLC

/s/ Tracy M. O’Steen, Esq,

CANDACE C. CARLYON, ESQ. (2666)
TRACY M. O'STEEN, ESQ. (10949)

3800 Howard Hughes Parkway, Suite 500

Las Vegas NV 89169

[Proposecl] Counselfor Debtors in Possession

 

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EXHIBIT 1

EXHIBIT 1

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a B. Rlley Financial company
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ENGAGEMENT LETTER AGREEMENT

January 24, 2018

Mr. Dan Brlggs, CEO

DC Solar Solutions, lnc.
4901 Park Road

Benicia, CA 94510

RE: Engagement of GlassRatner Advisory & Capital Group, LLC as the Chief
Restructuring Officer and Financial Advisor to DC Solar Solutions, lnc. and
Affiliates (collectively, the “Company”)

Dear l\/|r. Briggs,

This Engagement Letter Agreement confirms our understanding that Company, through its board
of director(s) (the “Board”) is engaging GlassRatner Advisory & Capital Group, LLC as Chief
Restructuring Officer (“CRO") and Financial Advisor and sets forth the terms and conditions of the
engagement including the scope of services to be performed and the basis of compensation for
those services Upon execution of this letter by each of the parties below and approval of the
Bankruptcy Court, this letter will constitute an agreement (the “Agreement”) between Company
and its Board and GlassRatner.

1. Description of Services

A. Officers. ln connection with this engagement, GlassRatner shall make
available to the Company Seth R. Freeman to serve as the Chief
Restructuring Officer of the Company (the “CRO”) at an hourly rate of $450.
Other GlassRatner personnel will provide services at their standard hourly
rates ranging from $625 to $195 at the direction of the CRO.

B. Duties and Powers.

(i) The CRO shall be an officer of Company and shall have duties
typical of a Chief Executlve engaged in restructuring activities but
not limited to: (a) assisting in all aspects ofthe Company's business
activities and operations including budgeting, cash management

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DC Solar Solutions, lnc. - GlassRatner

January 24, 2019
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and financial management; (b) negotiations regarding the
relationship with the Company’s lenders: (c) negotiations with
vendors customers and other creditors: (d) hiring and terminating
of employees of the Company (to the extent applicable) in
consultation with the board: (e) review of daily operating activity: (f)
evaluating liquidity options including restructuring, refinancing and
reorganizing; (g) reviewing purchases and expenses and (h) acting
as the Company representative in court hearings as appropriate

(ii) The CRO understands that the Board has engaged the law firm of
Skadden, Arps, Slate, Meagher & Flom LLP as its counsel
(“Counsel”), and that the powers of the CRO do not include the
power to terminate Counsel. Only the Board can vote to terminate
or replace its Counsel, however, the CRO may make
recommendations to the Board regarding Counsel.

(iii) The CRO shall assist the Company in evaluating and executing
restructuring alternatives

(iv) The CRO shall assist the Company and its Counsel in connection
with resolution of matters related to the U.S. Department ofJustice,
the Securities and Exchange Commission and internal Revenue
Service.

(v) Analyze Company’s operations and financial position and provide
recommendations with respect to financial restructuring or
disposition of assets in conjunction with the Director(s);

(vi) On behalf of Company’s Board, evaluate strategic alternatives to
maximize the value of the Company’s assets enterprise or
operations and, as necessary, to develop a plan of reorganization
or liquidation, in conjunction with the Director (s);

(vii) Serve as a principal point of contact for the Company and its
creditors with respect to financial and operational matters;

(viii) lf a decision is made by the Board and CRO to initiate a bankruptcy
proceeding:
a. To provide information and analyses for inclusion in Bankruptcy
Court filings and testimony related thereto;

b. Upon request and under the supervision of Company’s
Counsel, to support negotiations with the various creditor and
other constituents in the Bankruptcy Case;

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Mr. Dan Briggs, CEO

DC Solar Solutions, lnc. - GlassRatner

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c. Supervise GlassRatner’s preparation of any and all monthly
financial reports as required ofa debtor-in-possession and other
financial reporting required by the Office of the United States
Trustee on behalf of the Debtor;

d. Coordinate all activities on behalf of the Debtor in connection
with any refinancing, capital raising and sale process for the
Debtor, in conjunction with the Board.

Reporting. The CRO shall report to one or more Directors, provided,
however, that the CRO shall not require the consent or approval of the
Board to take action (or elect not to take action) in such officer’s capacity
as CRO absent order of the Bankruptcy Court; provided further, however,
the CRO shall routinely consult and provide the Board with the status of
actions which have been initiated and/or actions which are being planned
but not yet initiated

Emplovment bv GlassRatner. The CRO will continue to be employed by
GlassRatner and while rendering services to the Company continue to work
with other personnel at GlassRatner in connection with other unrelated
matters which will not unduly interfere with services pursuant to this
engagement With respect to the Company, however1 the CRO shall
operate pursuant to the terms of this Agreementl

Proiections; Reliance; Limitation of Duties. You understand that the
services to be rendered by the CRO may include the preparation of
projections and other forward-looking statements and that numerous
factors can affect the actual results of Company’s operations which may
materially and adversely differ from those projections and other fon/vard-
looking statements |n addition, the CRO will be relying on information
provided by other members of Company’s management in the preparation
of those projections and other forward-looking statements Neither the
CRO nor GlassRatner makes any representation or guarantee that the
business will achieve or not achieve a particular result. Further, that any
restructuring plan formulated for the Company, or selected by the CRO, will
be more successful than all other possible restructuring alternatives or that
any proposed restructuring alternative will be accepted by any of the
Company’s creditors and other constituents

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Mr. Dan Briggs, CEO
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Comgensation

A. GlassRatner will be paid by the Company for the services of the CRO at
$450 per hour for the services of Seth R. Freeman. Other GlassRatner
staff used will have rates that range from $625 per hour to $350 per hour.

B. ln cases such as these, GlassRatner requires a retainer of $200,000
received prior to commencement of performance of services

C. Further, Company and the Board agree that a minimum of per
month will be included as an approved expense in any budgets for post-
petition financing and the use of cash collateral.

D. To the extent GlassRatner provides services prior to Company operating
under Chapter 11 bankruptcy, Company and the Board agree to the
following payment terms:

a. invoices for services performed will be prepared on a weekly
basis and submitted each l\/londay for the previous week’s work;

b. The weekly invoice will be due and payable by Wednesday of
each week. GlassRatner reserves the right to terminate
services in the event Company fails to make timely payment

c. These payment terms will continue until the Company files a
Chapter 11 bankruptcy petition.

F. Should the Company initiate a Chapter 11 proceeding, Seth R. Freeman’s
retention as CRO and GlassRatner as his financial advisor will be subject to
approval of the Bankruptcy Court with the payment of monthly fees in
accordance with local rules whether subject to an interim fee application or the
submission to the court of itemized monthly fee statements

G. lf GlassRatner provides avoidable transfer analysis evaluation of potential
causes of action, valuation, litigation support consulting or forensic accounting,
those services will be billed in addition to CRO services albeit at the same
hourly rates

H. GlassRatner will be reimbursed by the Company for the reasonable out-of-
pocket expenses including travel expenses of the CRO and necessary staff.

l. GlassRatner will be reimbursed by the Company for its reasonable legal fees
incurred in connection with this Engagement, if necessary GlassRatner
agrees to consult with the Board in advance of retaining legal counsel in
connection with the Engagement

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Termination

Subject to Board approval, the engagement will commence effective with the
execution of the Agreement and approval of the Bankruptcy Court and can be
terminated by either party with 30 days written notice. Any professional services
provided during the period after notice but before the end ofthe term are the liability
of the Company.

No Audltl Duty to Update

lt is understood that the CRO and GlassRatner are not being requested to perform
an audit, review or compilation, or any other type of financial statement reporting
engagement that is subject to the rules of the AlCPA, SEC or other state or national
professional or regulatory body. They are entitled to rely on the accuracy and
validity of the data disclosed to them or supplied to them by manager employees
and representatives of the Company. The CRO and GlassRatner are under no
obligation to update data submitted to them or review any other areas

No Third Partv Beneficiarv.

The Company Board acknowledges that all advice (written or oral) given by
GlassRatner to the Board in connection with this engagement is intended solely
for the benefit and use of the Board in considering the matters to which this
engagement relates The Board agrees that no such advice shall be used for any
other purpose or reproduced, disseminated quoted or referred to at any time in
any manner or for any purpose other than accomplishing the tasks referred to
herein without GlassRatner’s prior approval (which shall not be unreasonably
withheld), except as required by law.

Conflicts.

GlassRatner is not currently aware of any relationship that would create a conflict
of interest with the Company or its Board or those parties-in-interest of which you
have made us aware. Because GlassRatner is a consulting firm that serves
Companies on an international basis in numerous cases both in and out of court,
it is possible that GlassRatner may have rendered services to or have business
associations with other entities or people which had or have or may have
relationships with Company and/or its board members including its creditors

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7. Confidentialitv/ Non-Solicitation.

The CRO and GlassRatner shall keep as confidential all non-public information
received from Company and its Board in conjunction with this engagement, except
(i) as requested by the Board or its legal counsel; (ii) as required by legal
proceedings or (iii) as reasonably required in the performance of this engagement
All obligations as to non-disclosure shall cease as to any part of such information
to the extent that such information is or becomes public other than as a result of a
breach of this provision.

8. indemnification

The Company and its Board shall indemnify GlassRatner and the CRO to the same
extent as the most favorable indemnification it extends to its officers or directors
whether under the Company’s bylaws its certificate of incorporation, or otherwise,
and no reduction or termination in any of the benefits provided under any such
indemnities shall affect the benefits provided to GlassRatner and the CRO. The
CRO shall be covered as an officer under the Company’s existing director and
officer liability insurance policies if such policy is in effect and the Company shall
also maintain any such insurance coverage for the CRO for a period of not less
than two years following the date of the termination of such officer’s services
hereunder. The attached indemnity provisions are incorporated herein and the
termination of this agreement or the engagement shall not affect those provisions
which shall survive termination The provisions of this section 8 are in the nature
of contractual obligations and no change in applicable law or the Company’s
charter, bylaws or other organizational documents or policies shall affect the
CRO’s or GlassRatner’s rights hereunder.

9. Director & Officer Liability lnsurance. Company shall provide and maintain Director
and Officer insurance policies reasonably acceptable to GlassRatner.

10. l\/liscellaneous

This Agreement shall (together with the attached indemnity provisions) be: (a)
governed and construed in accordance with the laws of the State of California,
regardless of the laws that might otherwise govern under applicable principles of
conflict of laws thereof; (b) incorporates the entire understanding of the parties with
respect to the subject matter thereof; and (c) may not be amended or modified
except in writing executed by each of the signatories hereto. Company and its
Board and GlassRatner agree to waive trial by jury in any action, proceeding or
counterclaim brought by or on behalf of the parties hereto with respect to any

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l\/lr. Dan Briggs, CEO
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matter relating to or arising out of the performance or non-performance of the
Company, its Board or GlassRatner hereunder.
11. Notices.

Notices to the Consultant shall be sent to the office address and by email in the
signature block below.

12. Conclusion.
if the foregoing is acceptable to you, kindly sign the enclosed copy to acknowledge
your agreement with its terms

Very truly yours

GLASSRATNER ADV|SORY & CAP|TAL GROUP, LLC

f"/l/Za%/M

Seth R. Freeman, ClRA, CTP
Senior i\/lanaging Director

 

San Francisco Office
425 California Street, Suite 900
San Francisco, CA 94556

Te|: 415-839-9280

Mob: 925-899-1550
sfreeman@glassratner.com

[Signature page follows]

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i\/lr. Dan Briggs, CEO
DC Solar Solutions, lnc. - GlassRatner

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Accepted and Agreed:

DC SOLAR SOLUT|ONS, |NC. and its AFF|L|ATES

By:

 

Authorized i\/lember of Board of Directors

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Name Date

 

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DC Solar Solutions, lnc. - GlassRatner

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ADD|T|ONAL lNDEMN|TY PROV|S|ON

DC Solar Solutions, lnc. and Affiliates (the “Company” or “Company”), to the extent permissible
under California State law, agrees to indemnify and hold harmless each of GlassRatner Advisory
& Capital, LLC (“GlassRatner”), GlassRatner’s shareholders officers employees agents
representatives and subcontractors (each, an "lndemnified Party" and collectively, the
"lndemnified Parties") against any and all losses claims damages liabilities penalties
obligations and expenses including the costs for counsel or others (including employees of
GlassRatner, based on their then current hourly billing rates) in investigating, preparing or
defending any action or claim, whether or not in connection with litigation in which any indemnified
Party is a party, or enforcing the Agreement (including these indemnity provisions), as and when
incurred, caused by, relating to, based upon or arising out of (directly or indirectly) the indemnified
Parties' acceptance of or the performance or nonperformance of their obligations under the
Agreement; provided, however, such indemnity shall not apply to any such loss claim, damage,
liability or expense to the extent it is found in a final judgment by a court of competent jurisdiction
(not subject to further appeal) to have resulted from such indemnified Party's gross negligence or
willful misconduct Company and its Board also agree that no indemnified Party shall have any
liability (whether direct or indirect in contract or tort or otherwise) to Company and its Board for
or in connection with the engagement of GlassRatner, except to the extent that any such liability
for losses claims damages liabilities or expenses are found in a final judgment by a court of
competent jurisdiction (not subject to further appeal) to have resulted from such indemnified
Party's gross negligence or willful misconduct Company and its Board further agree that it will
not, without the prior consent of an indemnified Party, settle or compromise or consent to the
entry of anyjudgment in any pending or threatened claim, action, suit or proceeding in respect of
which such indemnified Party seeks indemnification hereunder (whether or not such indemnified
Party is an actual party to such ciaim, action, suit or proceedings) unless such settlement
compromise or consent includes an unconditional release of such indemnified Party from all

liabilities arising out of such claim, action, suit or proceeding

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ACCEPTANCE

if the foregoing proposal is acceptable to you, please sign in the space indicated Please also
send a copy of your corporate resolution authorizing our engagement

DC SOLAR SOLUT|ONS

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ivir. Dan Briggs, ceo bare

Retainer Wiring instructions

Please wire the retainer as foilows:

Wells Fargo Bank

Woodiand i-lills, CA

Benenciary: BRGR Revenue Depository

ABA# 121 000 248

Account Number: 4208 220418

Reference: DC Solar Solutions-Freeman

Swift code for incoming international wires in US$: V\/FBlUSGS

Swift code for incoming international wires in foreign currency: WFB|US€V\/

www.GiassRatner.com

 

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LIST OF AFFILIATED ENTIT.IES
Double Jump, lnc.
Dora Dog Properties LLC
Dog Blue Properties LLC
Brandy Boy Properties LLC
475 Channel Road, LLC
Park Road, LLC
140 Mason Circle, LLC
DC Solar Solutions, lnc.
DC Solar Distribution, lnc.

DC Solar Freedom, lnc.

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EXHIBIT 2

EXHIBIT 2

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Seth R. Freeman, CTP, ClRA

Senior Managing Director
GlassRatner Advisory & Capital Group, LLC

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Seth R. Freeman, CTP, ClRA is the Senior Managing Director of the San Francisco office of
GlassRatner Advisory & Capital Group, LLC. He is a Bankruptcy, insolvency and Restructur-
ing Consultant, Crisis and Turnaround i\/lanager and Asset i\/ianager with over 30 years of di-
verse consulting experience including financial advisory, operational and financial restructur-
ing, controlled wind-downs transaction management arranging new financing, fiduciary1 litiga-
tion support; and cross-border due diligence, insolvency and debt resolution market-entry
strategies compliance, fraud investigation and recovery and complex dispute negotiation His
practice also includes serving as independent advisor to significant investors and directors of
companies undergoing change.

Seth is an active member of the Bankruptcy community. He is a Director of the Bay Area
Bankruptcy Forum and a member of the CTP Certification Oversight Committee of the Turna-
round l\/lanagement Association He is a Certified insolvency & Restructuring Advisor and a
Certified Turnaround Professional. Seth also served as Chairman of the Editoriai Board of the
TMA Joumal of Corporate Renewa/ and a director and officer of the TMA Northern California
Chapter.

Seth’s clients include debtors creditors investors lenders banks venture and private equity
managers family offices boards and government agencies and their attorneys and other pro-
fessionals His roles have included court-appointed Financial Advisor, CRO, interim CEO, in-
terim CFO, interim/replacement general partner, Assignee for the Benefit of Creditors (ABC),
forensic investigator and expert; and fiduciary in a variety of complex matters and cases involv-
ing both private and listed companies across a wide range of industries

industry experience includes manufacturing consumer products apparel, distribution
startups, technology, software, lT services industrial products pharma, food and beverage,
agriculture, hospitality, investment management private equity, venture capital, professional
services banks and lenders shipping, real estate and retail.

His background includes addressing the unique factors of projects involving the use of invest-
ment tax credits including solar, historic investment tax credits and other tax attributes

Over the past several years Seth has developed expertise in the EB-5 investment immigration
program to assist groups of foreign investors and their attorneys in EB-5 related fraud, mis-
management and bankruptcy, as well as assessing “redeployment” of “at-risk” investor funds
and compliance required under USC|S regulation

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Seth has gained experience in all aspects of real estate investment asset management de-
velopment finance, lending, distressed asset and debt portfolios and investment banking
across most property-types with an aggregate value exceeding $1 Biliion, including client pro-
jects in the U.S., lVlexico, Guatemala and Beiize.

Prior to joining GlassRatner, Seth was Senior Managing Director of an international restructur-
ing, insolvency and emerging markets advisory and asset management firm, he co-founded in
1996, where in addition to delivering consulting services he has served as investment manager
of funds investing in lndia. During his career, he served as the president and chief operating
officer of companies investing in distressed industrial companies managing, and advising on
structuring, development and investing in distressed and underperforming real estate, includ-
ing investment tax credit oriented projects

Seth holds an lVlBA in international Management from Thunderbird School of Global Manage-
ment and a Bachelor of Arts in Management from St. lVlary’s College of California. He is a Cer-
tified insolvency & Restructuring Advisor (ClRA) and a licensed CA real estate broker and
general building contractor. Seth has appeared over 120 times on Bioomberg TV and CNBC
TV on global and cross-border business and investment issues He has been an invited
speaker and moderator at leading lViBA programs including Wharton, Chicago Booth, Harvard,
NYU Stern, Co|umbia, Georgetown and UC Berkeiey Haas; and at numerous industry and pro-
fessional conferences including AiRA and Tli/lA.

Examples of Seth’s engagement experience includes:

o Appointed Financial Advisor by the German parent to execute the sale and liquidation of
assets of its insolvent wholly-owned U.S. subsidiary engaged in solar and electric vehicle
charging stations Appointed liquidating trustee for disposition of excluded assets

o Assignee and l\/lanager of FandorABC1 LLC, the Assignee of Our Film Festivai, LLC, under
a California Assignment for Benefit of Creditors the leading streaming movie website for
independent films and documentaries with 4,000 titles and extensive proprietary lP. Lead-
ing the sale and disposition of assets to maximize recovery.

o Engaged as Financial Advisor to secured lender of a large Washington dairy in Chapter 11.
Advising institution on Debtor’s budgets and reporting, viability, restructuring options and
valuation Serve as expert witness

~ Appointed Assignee by Board of Directors under a California Assignment for Benefit of
Creditors by the board of Healthy Planet Products, lnc., an AMEX listed cause-oriented
graphics and printed products and gift manufacturer with national distribution to over 1,000
retailers and marketing licenses from major nature and wildlife conservation organizations
such as World Wildiife Fund (WFF). As interim CEO, Seth managed an “operating ABC”

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over a period of two years to maximize inventory and iP disposition values distributions to
creditors and retention of employees

Appointed interim CEO/CRO of an award-winning educational toy company manufacturing
in California facing severe illiquidity due to bankruptcies of concentrated mall chain store
customers and direct cost accounting and dysfunctional board management issues Seth
negotiated forbearance agreements performed detailed customer and cost analysis and
led an extensive product line redesign repositioning, and expanding the product line. in
China he sourced and implemented a comprehensive off-shoring strategy with turn-key
production and packaging The company’s new cost structure and products attracted new
working capital financing and enabled large, profitable holiday sales leading to positive
cash and sale of the company.

Financial and strategic development advisor to a middle market mobility software products
and lT services company with Silicon Valley headquarters and production in lndia, serving
U.S. multinationais, healthcare organizations U.S. government agencies and large domes-
tic indian customers

initially engaged by Chairman and CEO for out-of-couit assistance for a large Texas based
multi-state integrated cattle company. Seth negotiated standstill agreements with multiple
fatigued secured lenders intent on seizing collaterai, including cattie. He resolved complex
inter-company transfer accounting and cross-collateral issues To accomplish a financial
restructuring he engaged counsel and led its Chapter 11 planning process He was en-
gaged as court-appointed Financial Advisor/CRO in 4 related Chapter 11 cases managing
the Chapter 11 process that enabled a successful private capital recapitalization 100% re-
covery for secured lenders and a structured dismissal.

As the Managing Agent and financial advisor for a group of unrelated US investors in who
invested in an Argentine airline, Seth’s forensic examination and in-country due diligence
and tracing revealed the existence of multi-year fraud and Ponzi scheme. Seth initiated and
managed litigation in US and Argentina, provided litigation support and iiaised with law en-
forcement agencies Seth obtained a $4.3m Federal District Court fraud and exemplary
damages jury verdict against the U.S. managing member of the illinois aircraft renovation
and leasing companies with aircraft leased to Argentine airlines

Prepared a detailed expert financial and forensic report to document iRS treatment of
iVladoff-type investment fraud losses for victims of the Ponzi scheme.

Appointed by investors to serve as replacement LLC l\/lanager of 3 aircraft leasing compa-
nies owning Boeing 737 aircraft during a multi-year process

Appointed interim President of Dane Sea Lines an insolvent listed Greek roll-on/roil-off Pi-
raeus-Rhodes ferry line with three ships and 300 union employees

Engaged as Financial Advisor and subject matter expert for the due diligence, sale strategy
and execution of a $1 Biliion portfolio of distressed assets of intervened l\/lexican banks

Extensive investment due diligence, valuation and investment analysis of listed and private
companies in U.S., i\/lexico, China, india and Vietnam.

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EXHIBIT 3

EXHIBIT 3

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CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O'STEEN, ESQ.

Nevada Bar No. 10949

CLARK HILL PLC

3800 Howard Hughes Parkway, Suite 500
Las Vegas NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-8400
CCarlyon@ClarkHill.com
TOSteen@ClarkHill.com

[Proposed] Counselfor Debtors in Possession

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re ` Case No.: BK-19-50130-btb

Chapter 1 1

DC S()LAR SOLUTIONS, INC.

l Proposed Joint Administration With:

Debtor. | 19-50102-btb ` Double Jump, Inc.

' 19-50103-btb Dora Dog Properties LLC

19-50104-btb Dog Blue Properties LLC

19-501 05-btb Brandy Boy Properties LLC

19-50106-btb ~ 475 Channel Road, LLC

_ 19-50108-btb Park Road, LLC
19-50109-btb 140 Mason Circle, LLC

19-50131-btb DC Solar Distribution, Inc.~__W

 

 

 

 

 

 

 

 

 

Hearing Date:
Hearing Time:

 

 

 

 

[PROPOSED] INTERIM ORDER (I) AUTHORIZING THE RETENTION OF
GLASSRATNER ADVISORY & CAPITAL GROUP LLC TO PROVIDE CHIEF
RESTRUCTURING OFFICER AND CERTAIN ADDITIONAL PERSONNEL, (II)
DESIGNATING SETH R. FREEMAN AS DEBTORS’ CHIEF RESTRUCTURING
OFFICER EFFECTIVE AS OF THE PETITION DATE, AND (III) SETTING A FINAL
HEARING

The Court having reviewed and considered the Debtors’ Emergency Motion (the
“M_c)ti_g;r”) for Entry of lnterim and Final Orders (i) Approving the Retention and Employment of
GlassRatner Advisory & Capital Group LLC (“GlassRatner”) to Provide the Debtors with a Chief
Restructuring Officer (“M”) and Certain Additional Personnel (the “GlassRatner Personnel”),

and (ii) Designating Seth R. Freeman, CIRA, CTP as CRO Effective as of the Petition Date, (iii)

 

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Setting a Final Hearing on the Motion, and (iv) Granting Related Relief, as supported by the
declaration of Seth R. Freeman filed in support of the Motion (the “Freeman Declaration”), along
with the First Day Declarationl; and the Court having held an emergency hearing on the Motion at
the above captioned date and time (the “He_arin_g”); and it appearing that the relief requested in the
Motion is in the best interest of the Debtors’ estates creditors and all parties-in-interest; and in
light of the circumstances and the nature of the relief requested, and after due deliberation and
sufficient cause appearing:

IT IS HEREBY ORDERED:

1. The Motion is GRANTED as set forth herein on an interim basis

2. The Debtor is authorized to retain and employ GlassRatner pursuant to the terms
and conditions of the Engagement Agreement effective as of the Petition Date

4. The Debtors shall compensate and reimburse GlassRatner in accordance with the
payment terms set forth in the Engagement Agreement for all services rendered and expenses
incurred in connection with the Debtor’s case, upon Court approval. Debtor shall also serve the
Official Committee of Unsecured Creditors if formed, and the Office the United States Trustee,
with copies of GlassRatner’s applications for compensation when filed.

7. Pursuant to Section 503(b)(1)(A) of the Bankruptcy Code, the fees and expenses of
GlassRatner incurred pursuant to the Engagement Agreement shall be administrative expenses of
the Debtors’ estates however, the Debtors are required to obtain Court approval before payment of
any invoices submitted to Debtors by GlassRatner.

8 The Debtors and GlassRatner are authorized to take all actions necessary to
effectuate the relief granted pursuant to this order in accordance with the Motion and the Services

Agreement

 

1 All capitalized terms not otherwise defined herein have the meaning ascribed them in the Motion

 

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9. A final hearing is scheduled on the Motion for _, 2019 at _:--.m.
IT IS SO ORDERED.

Submitted by: Approved:

CLARK HILL PLC OFFICE OF THE U.S. TRUSTEE

 

 

 

CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O'STEEN, ESQ.

Nevada Bar No. 10949

3800 Howard Hughes Parkway, Suite 500
Las Vegas NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-8400
CCarlyon@ClarkHill.com
TOSteen@ClarkHill.com

JARED DAY, ESQ.

300 Booth Street

Reno, Nevada 89509

Telephone: AuthorOfficeGeneralNo 1

 

